                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 COLUMBIA DIVISION

VOLUNTEER MANAGEMENT &                          )
DEVELOPMENT COMPANY INC.                        )
                                                )
          Plaintiff,                            )
                                                    Case No.: 1:23-cv-00041
                                                )
v.                                              )
                                                )   (Removed from the Marshall County Circuit
                                                )   Court, Case No. 23-CV-13)
STATE AUTO PROPERTY &
CASUALTY INSURANCE CO.,                         )
                                                )
          Defendant.                            )

 DEFENDANT STATE AUTO PROPERTY & CASUALTY INSURANCE COMPANY’S
     MEMORANDUM IN SUPPORT OF ITS PARTIAL MOTION TO DISMISS

          Pursuant to Local Rule 7.01 and Fed. R. Civ. P. 12(b)(6), Defendant State Auto Property

& Casualty Insurance Company (“State Auto”) files this memorandum of law in support of its

Partial Motion to Dismiss seeking dismissal with prejudice of Plaintiff’s claims for (a) the

Insurance Fraud Act claim, Tenn. Code Ann. § 56-53-103(a)(1), (b) “agency”, and (c) punitive

damages, due to Plaintiff’s failure to state a claim upon which relief can be granted.

I.        INTRODUCTION

          In its Complaint, Plaintiff invokes Tennessee’s Insurance Fraud Act and agency theory in

novel, unsupported ways, so that it can seek an award ($80 million) exponentially greater than the

policy’s applicable limits. Instead of providing the Court with exceptional allegations to support

stretching Tennessee law in this manner, Plaintiff complains only that State Auto sent an engineer

to inspect Plaintiff’s property and requested that Plaintiff identify the disagreement, if any, about

the amount of the loss before State Auto could agree to appraisal under the terms of the policy.

The allegations support only a breach of contract claim against State Auto; all of Plaintiff’s

remaining claims should be dismissed at this stage.



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II.       ALLEGATIONS IN COMPLAINT

          The present action arises out of an alleged storm loss and accompanying property damage

allegedly occurring at multiple properties owned by Plaintiff (the “Properties”) on or about

December 10, 2021.1 Complaint at ¶¶ 1, 3, 5, 19, & 24. Plaintiff has asserted claims against State

Auto for (1) breach of contract; (2) agency; and (3) insurance fraud. Id. at ¶¶ 18-19, 29-30, 31-32.

Plaintiff has also requested that the Court compel appraisal and appoint an umpire.2 Id. at ¶¶ 12,

15.

          Specifically, Plaintiff asserts State Auto “has refused to pay the amounts owed to Plaintiff

for the Loss pursuant to the insurance coverage afforded by the Policy” and “materially breached

the insurance contract by refusing to participate in the appraisal process after it was properly

demanded by Plaintiffs.” Id. at ¶¶ 17-18. In addition, Plaintiff alleges State Auto “breached its

contractual obligations by failing to properly and reasonably inspect the Properties and failing to

pay for cost related benefits to properly repair the Properties, as well as for losses associated with

the subject loss event, including substantial business interruption costs.” Id. at ¶ 19.

          Plaintiff also asserted that a State Auto employee, Mike Wakefield, “while in the Course

and scope of his employment with State Auto, presented false information to an insurance

professional related to a claim by falsely stating that Defendants ‘needed specific details on the

damage scope in disagreement before proceeding with appraisal’” and “Wakefield’s actions


          1
            Notably, Plaintiff fails to identify the address(es) of the Properties allegedly damaged by the alleged storm
loss in its Complaint. Plaintiff’s insurance claim involves properties located in both the Commonwealth of Kentucky
and the State of Tennessee. State Auto has already issued substantial payment for alleged damage to Plaintiff’s
properties in Kentucky, and it is unclear from the Complaint whether this action relates to the properties in Kentucky
or Tennessee. To the extent Plaintiff later clarifies that some of properties at issue are located outside the State of
Tennessee, State Auto reserves the right to assert jurisdictional defenses.
          2
          Plaintiff also requests that the Court appoint an umpire. Plaintiff’s request for the Court to appoint an umpire
is improperly brought in its Complaint and must be brought as a separate Motion. To the extent Plaintiff files a Motion
requesting an umpire be appointed, State Auto will respond at the appropriate time.



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constitute a violation of the Insurance Fraud Act found at [Tenn. Code Ann.] §§ 56-53-103(a)(1)

….” Id. at ¶ 31. Plaintiff further alleges “Defendants also knowingly, and repeatedly,

misrepresented the policy coverage term of deterioration and wear and tear (existing conditions)

as ‘causes of loss’ to deny coverage to Plaintiff[]…” and “the actions of Wakefield, EES, and State

Auto were part of a pattern or practice of violation of the Insurance Fraud…”. Id. at ¶¶ 7, 32.

          Additionally, Plaintiff alleges “… desk adjuster Mike Wakefield provided Plaintiffs with

a letter from Engineering & Environmental Services Group, (EES) to Mike Wakefield…detailing

the results of their June 1-2[,] 2022 inspections.” Id. at ¶ 4. Plaintiff also asserts EES “failed to

properly inspect the subject properties, failed to show the blatant damages to the roofs, exterior

claddings, that had been previously photographed and documented by Plaintiff[’]s public adjuster

and other consultants, and sent to EES prior to inspections.” Id. at ¶ 5. Moreover, Plaintiff alleges

“[a]ll acts by EES were undertaken and completed by its officers, agents, servants, employees,

and/or representatives” and “[a]ll such acts were either done with the full authorization or

ratification of Defendant and/or were completed in its normal and routine course and scope of

employment.” Id. at ¶ 29. Finally, Plaintiff seeks damages “of no less than FORTY MILLIONS

[sic] DOLLARS AND punitive damages of no less than FORTY MILLION DOLLARS.” Id.,

Wherefore Clause.

          As set forth more fully below, Plaintiff is not entitled, as a matter of law to (1) relief under

Tenn. Code Ann. § 56-53-103(a)(1) as this statute applies to acts taken by or on behalf of an insured

and does not apply to acts taken by an insurer; (2) any recovery on its cause of action related to

“agency”, as (a) no such cause of action exists, (b) EES is an independent, third party entity and is

not owned, employed, or otherwise controlled by State Auto and (c) there are no allegations

supporting that any agency relationship exists between State Auto and EES; or (3) an award of




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punitive damages under controlling case law. Accordingly, Plaintiff’s agency and Insurance Fraud

Act claims, along with Plaintiff’s request for a punitive damages, should be dismissed with

prejudice.

II.       ARGUMENT AND LEGAL AUTHORITY

A.        Rule 12.02(6) Standard.

          Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, the Court should dismiss

Plaintiff’s claims if, accepting the allegations as true, they fail to state facts that support relief.

“The purpose of a Rule 12(b)(6) motion is ‘to test [against the legal standard set forth in Fed. R.

Civ. P. 8] whether, as a matter of law, the plaintiff is entitled to legal relief even if everything

alleged in the complaint is true.’” See Campbell v. Nationstar Mortg., 611 F. App’x 288, 291 (6th

Cir. 2015) (quoting Mayer v. Mylod, 988 F.2d 635, 638 (6th Cir. 1993)). Thus, for a complaint to

survive a Rule 12(b)(6) motion, it “must—when the record is construed in the light most favorable

to the nonmoving party and when all well-pled factual allegations are accepted as true—contain

‘either direct or inferential allegations respecting all material elements necessary for recovery

under a viable legal theory.’” D’Ambrosio v. Marino, 747 F.3d 378, 383 (6th Cir. 2014) (quoting

Phila. Indem. Ins. Co. v. Youth Alive, Inc., 732 F.3d 645, 649 (6th Cir. 2013)). Notably, “Rule

12(b)(6) authorizes a court to dismiss a claim on the basis of a dispositive issue of law.” Neitzke v.

Williams, 490 U.S. 319, 326-27 (1989).

          In reviewing a complaint, however, courts “‘need not accept as true legal conclusions or

unwarranted factual inferences, and conclusory allegations or legal conclusions masquerading as

factual allegations will not suffice.’” D’Ambrosio, 747 F.3d at 383 (quoting Terry v. Tyson Farms,

Inc., 604 F.3d 272, 275-76 (6th Cir. 2010)). Thus, while “the pleading standard Rule 8 announces

does not require ‘detailed factual allegations,’ it demands more than ‘labels and conclusions.’”




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Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007)). “Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further

factual enhancement.’” Id. (explaining that Rule 8 requires more than an unadorned, “the-

defendant-unlawfully-harmed-me accusation”). Instead, a plaintiff must plead “enough facts to

state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570; Yeager v.

FirstEnergy Generation Corp., 777 F.3d 362, 363 (6th Cir. 2015) (complaint “must contain

sufficient factual matter, accepted as true, to state a claim for relief that is plausible on its face.”).

          Thus, to survive a Rule 12(b)(6) Motion, a plaintiff’s “[f]actual allegations must be enough

to raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555 (citation and

footnote omitted). A plaintiff must allege sufficient facts to “allow[] the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

678 (“a formulaic recitation of the elements of a cause of action will not do”). “[W]here the well-

pleaded facts do not permit the court to infer more than the mere possibility of misconduct, the

complaint has alleged but it has not ‘show[n]’ ‘that the pleader is entitled to relief.’” Id. at 679

(quoting Fed. R. Civ. P. 8(a)(2)).

B.        Plaintiff’s Claims Under the Insurance Fraud Act Fail as a Matter of Law as § 56-53-
          103(a)(1) Does Not Apply to Insurers or Their Adjusters.

          Plaintiff’s claims against State Auto under the Insurance Fraud Act fail as a matter of law.

Below, State Auto addresses all three (3) sections of Tenn. Code Ann. § 56-53-103, even though

Plaintiff has only cited to one: section (a)(1), which is addressed first.

          1.     Tenn. Code Ann. § 56-53-103(a)(1) Does Not Govern Communications From
                 an Insurer or Actions Committed by an Insurer.

          Tenn. Code Ann. § 56-53-103(a)(1) prohibits an insured from misrepresenting or

withholding material information from an insurer concerning a claim under the policy. Tenn. Code

Ann. § 56–53–103(a)(1) specifically provides the following:


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          (a) Any person who commits, participates in, or aids, abets, or conspires to commit,
          or solicits another person to commit, or permits its employees or its agents to
          commit any of the following acts with an intent to induce reliance, has committed
          an unlawful insurance act:

          (1) Presents, causes to be presented, or prepares with knowledge or belief that it
          will be presented, by or on behalf of an insured, claimant or applicant to an
          insurer, insurance professional or a premium finance company in connection with
          an insurance transaction or premium finance transaction, any information that the
          person knows to contain false representations, or representations the falsity of
          which the person has recklessly disregarded, as to any material fact, or that
          withholds or conceals a material fact, concerning any of the following: The
          application for, rating of, or renewal of, any insurance policy; A claim for payment
          or benefit pursuant to any insurance policy; Payments made in accordance with the
          terms of any insurance policy; or The application for the financing of any insurance
          premium.

Tenn. Code Ann. § 56–53–103(a)(1) (emphasis added).

          The Middle District of Tennessee has recognized “Tenn. Code Ann. § 56–53–

103(a)…makes it unlawful for an insured person to “present[ ] ... to an insurer ... any information

that the person knows to contain false representations… or that withholds or conceals a material

fact, concerning ... [a] claim for payment or benefit pursuant to any insurance policy.’” Cantrell v.

Yates Servs., LLC, 205 F. Supp. 3d 928, 933 (M.D. Tenn. 2016) (emphasis added). By its plain

terms, Tenn. Code Ann. § 56–53–103(a)(1) is clearly intended to apply to actions committed by

or on behalf of an insured, claimant, or applicant against an insurer, and nothing in either the

statutory language or case law indicates that it contemplates claims for the opposite, namely the

presentation of information by an insurer. Indeed, counsel for State Auto has located no case law

supporting Plaintiff’s novel position here that the statute, specifically section (a)(1), contemplates

actions by an insured against its insurer. As a result, State Auto avers Tenn. Code Ann.§ 56–53–

103(a)(1) does not give rise to any actionable claim brought by an insured against an insurer and

should be dismissed for this reason alone.




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          Delving further, Plaintiff alleges a State Auto employee “presented false information to an

insurance professional related to a claim.” Complaint at ¶ 31. Plaintiff does not identify the

insurance professional to whom the allegedly false information was presented, nor does Plaintiff

allege that the statement was made on Plaintiff’s behalf. Moreover, the alleged “false information”

is not identified in any way. The claim should fail for this reason as well.

          Additionally, in order for Plaintiff to have any actionable claim under this statute, Plaintiff

must allege the offending statement made on its behalf was known “to contain false

representations, or representations the falsity of which the person has recklessly disregarded, as to

any material fact, or that withholds or conceals a material fact” and such facts must have concerned

“[t]he application for, rating of, or renewal of, any insurance policy; [a] claim for payment or

benefit pursuant to any insurance policy; [p]ayments made in accordance with the terms of any

insurance policy; or [t]he application for the financing of any insurance premium.” Tenn. Code

Ann. § 56–53–103(a)(1). Plaintiff has failed to make such an allegation within the Complaint.

          Put simply, Plaintiff has failed to set forth any facts demonstrating Tenn. Code Ann. § 56–

53–103(a)(1) contemplates actions by insurers or insurers’ adjusters. Rather, the statute clearly

provides that it is applicable to communications and acts “presented, by or on behalf of an insured,

claimant or applicant”. Id. Plaintiff has failed to identify any such acts here.

          2.     Tenn. Code Ann. § 56-53-103(a)(2) Applies to Only Four (4) Narrow Specified
                 Actions, and Tenn. Code Ann. § 56-53-103(a)(3) is Inapplicable.

          While Tenn. Code Ann. § 56–53–103(a)(1) is the only section of the Insurance Fraud Act

referenced in Plaintiff’s Complaint, to the extent the Court finds Tenn. Code Ann. §56-53-

103(a)(2) and/or (a)(3) are implicated by the allegations, Plaintiff’s claims under such sections also

fail. Tenn. Code Ann. §56-53-103(a)(2) prohibits an insurer from misrepresenting or withholding

material information in certain situations. Under these portions of the Insurance Fraud Act (again,



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not cited by Plaintiff in the Complaint), an insurer or agent is deemed to commit an unlawful

insurance act if it presents or withholds material information “in connection with an insurance

transaction or premium finance transaction,” the falsity of which is known or recklessly

disregarded, concerning any of the following:

                 (A) The solicitation for sale of any insurance policy or purported
                 insurance policy;
                 (B) An application for certificate of authority;
                 (C) The financial condition of any insurer; or
                 (D) The acquisition, formation, merger, affiliation or dissolution of
                 any insurer.

Tenn. Code Ann. §56-53-103(a)(2). Notably, Plaintiff has alleged nothing against State Auto

involving any of the above four (4) subjects and makes no reference to a “premium transaction” at

all. In fact, Plaintiff only alleges that State Auto’s employee declared he “needed specific details

on the damage scope in disagreement before proceeding with appraisal.” Complaint at ¶¶ 9, 31.

Such allegation clearly fails to constitute the “solicitation for sale of any insurance policy or

purported insurance policy”. Nor does Plaintiff’s allegation concern “an application for certificate

of authority” or relate to the “financial condition of any insurer”. Finally, Plaintiff’s allegation fails

to relate to any “acquisition, formation, merger, affiliation or dissolution of any insurer”. Put

simply, none of the specified topics listed in section (a)(2) apply to Plaintiff’s allegation identified

by Plaintiff in support of his insurance fraud claim. As a result, the Complaint does not state a

cause of action against State Auto under section (a)(2).

          Last, turning to Tenn. Code Ann. §56-53-103(a)(3), this section sets forth that an unlawful

insurance act has been committed when a person:

                 (3) Solicits or accepts new or renewal insurance risks by or for an
                 insurer that the person knows was insolvent or the insolvency of
                 which the person recklessly disregards.




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Tenn. Code Ann. § 56-53-103(a)(3). Again, Plaintiff only claims that State Auto’s employee

requested information regarding the scope of disagreement between the parties before agreeing to

proceed with appraisal. Complaint at ¶¶ 9, 31. Since there are no allegations within the Complaint

referencing State Auto’s alleged insolvency, section (a)(3) is not implicated either. Accordingly,

Plaintiff’s claims under the Insurance Fraud Act fail as a matter of law and should be dismissed.

          3.     Fed. R. Civ. P. 9(b) Bars Plaintiff’s Insurance Fraud Act Claim.

          In the event the Court determines the Tennessee Insurance Fraud Act allows an insured to

bring claims against insurer under (a)(1), Fed. R. Civ. P. 9(b) applies to such claims. Bush Truck

Leasing, Inc. v. Cummins, Inc., No. 1:18-cv-871, 2020 U.S. Dist. LEXIS 120226, at *5 (S.D. Ohio

July 9, 2020) (“Due to the ‘high risk of abusive litigation,’ Twombly, 550 U.S. at 569 n. 14, parties

alleging fraud or misrepresentation are held to a heightened pleading standard. Fed. R. Civ. P.

9(b)”). To satisfy the heightened pleading requirement in Federal Rule of Civil Procedure 9(b),

courts have recognized that “a complaint must set forth specific fraudulent or deceptive acts rather

than general allegations.” Mantsevich v. Countrywide Home Loans, Inc., No. 1:12-CV-157, 2013

WL 1326963, at *5 (E.D. Tenn. 2013) (internal citations omitted).

          Moreover, as this Court recently recognized in FedEx Ground Package System, Inc. v.

Route Consultant, Inc., the heightened pleading standard of Federal Rule of Civil Procedure 9(b)

applies to allegedly deceptive, false, or misleading statements. No. 3:22-CV-00656, 2023 WL

2466624, at *6, n.4 (M.D. Tenn. March 10, 2023). Since Plaintiff alleged State Auto made

deceptive, false, and/or misleading statements, Plaintiff must plead its allegations regarding fraud

and misrepresentation with specificity pursuant to Fed. R. Civ. P. 9(b).

          However, Plaintiff fails to plead its fraud or misrepresentation claims against State Auto

with any particularity. Instead, Plaintiff alleges that “Defendants also knowingly, and repeatedly,




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misrepresented the policy coverage term of deterioration and wear and tear (existing conditions)

as “causes of loss” to deny coverage to Plaintiffs throughout the letter but the payments Defendant

admits to making to Plaintiffs on the second page is still subject to appraisal process.” Complaint

at ¶ 7. Further, Plaintiff asserts State Auto’s employee stated he “‘needed specific details on the

damage scope in disagreement before proceeding with appraisal’…was a misrepresentation of

policy coverage terms, and was certainly not a prerequisite to Defendants’ [sic] mandatory

participation in the appraisal process or a policy condition Plaintiffs [sic] must comply after their

proper demand.” Id. at ¶ 9. Plaintiff’s allegations regarding (1) State Auto’s denial of coverage

and (2) State Auto’s request for information on the scope of damage do not plausibly allege State

Auto engaged in any fraudulent or deceptive acts, and Plaintiff’s conclusory allegations that State

Auto engaged in misrepresentation are insufficient to satisfy the heightened pleading standard of

Fed. R. Civ. P. 9(b). For these reasons, Plaintiff’s Insurance Fraud Act claims should be dismissed.

B.        Plaintiff’s Agency Claim Fails as a Matter of Law.

          This claim is bizarre, as Plaintiff seeks to hold State Auto liable for the acts of a third-party

engineering firm whose findings Plaintiff appears to have a disagreement. Specifically, Plaintiff

has alleged that EES Engineering & Environmental Services Group (“EES”), a separate

corporation who is not named as a party to this lawsuit, failed to properly inspect the Properties

and show the “blatant damages to the roofs, exterior claddings, that had been previously

photographed and documented by Plaintiffs public adjuster and other consultants, and sent to EES

prior to inspections.” Id. at ¶¶ 4-5. Plaintiff has also asserted that State Auto “admitted to making

payments for each location and relying on the EES report to support the denial of coverage.” Id.

at ¶ 7. In addition, Plaintiff alleged that “[a]ll acts by EES were undertaken and completed by its

officers, agents, servants, employees, and/or representatives. All such acts were either done with




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the full authorization or ratification of Defendant and/or were completed in its normal and routine

course and scope of employment.” Id. at ¶ 29.

          As an initial matter, there is no cause of action for agency in Tennessee. Rotello v. Clayton

Homes of Delaware, Inc., No. 3:03-CV-573, 2006 WL 2771018, at *4 (E.D. Tenn. Sept. 25, 2006)

(“defendants argue that agency doctrine liability is not a cause of action under Tennessee law. …

[D]efendants are correct that there is no cause of action for agency liability in Tennessee. Agency

liability is a means by which a principle may be vicariously liable for an agent's tortious conduct.

It is not an independent cause of action. Accordingly, plaintiffs' agency doctrine liability claim

will be dismissed.”) (citing Jones v. Federated Financial Reserve Corp., 144 F.3d 961, 965 (6th

Cir. 1998) (internal citations omitted)). Thus, this cause of action should be dismissed.

          To the extent the Court determines Plaintiff may plead agency as a stand-alone cause of

action, Plaintiff’s agency claim fails as Plaintiff has failed to plead facts establishing that any

agency relationship existed between EES and State Auto. In Tennessee, courts look to the parties’

conduct and relationship to determine whether an agency relationship exists. Star Transp., Inc. v.

CSIR Enters., 409 F. Supp. 2d 939, 947 (M.D. Tenn. 2006). Courts have recognized that “[a] key

factor in the examination of agency is whether the principal exercised control over the agent” and

“[a]dditional factors to consider in evaluating the existence of an agency relationship include the

following: (1) the source of the alleged agent's compensation; (2) the party who first set the alleged

agent in motion; and (3) the party whose interests the agent is working to advance.” Id. at 948

(internal citations omitted).

          Further, in order to establish apparent authority, this Court has recognized that there must

be a showing of “(1) the principal actually or negligently acquiesced in another party's exercise of

authority; (2) the third person had knowledge of the facts and a good faith belief that the apparent




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agency possessed such authority; and (3) the third person relied on this apparent authority to his

or her detriment” and “in Tennessee…apparent authority must be based on the acts of the principal

rather than those of the agent.” Id. at 949 (internal citations omitted).

          Here, Plaintiff has failed to make any allegations that an apparent authority or agency

relationship existed between State Auto and EES. Instead, State Auto retained EES as an

independent, third party vendor to conduct an inspection of the Properties. See Ex. B to Complaint,

PageID # 61-142. State Auto does not have any control over the skill, expertise, or manner and

method of inspections conducted by EES. Moreover, State Auto is not an employer of EES and is

not alleged to be. See generally Complaint. EES is an independent, wholly-owned, third party

vendor and is not owned, operated, employed, or controlled by State Auto. Id.

          Moreover, in Slay v. IB Travelin, Inc., the Western District of Tennessee held that a

business relationship is insufficient to create an agency relationship. Slay v. IB Travelin, Inc.,

218CV02728SHMTMP, 2021 WL 2144333 at *1 (W.D. Tenn. May 26, 2021). In Slay, Plaintiff

brought suit against two travel service agencies. Id. Plaintiff booked a trip electronically through

IB Travelin and the trip included services to be provided by a separate company, Domiruth. Id.

Plaintiff argued that IB Travelin was the apparent and actual agent of Domiruth. However, the

Court recognized that “Domiruth did not by its actions “clothe[ ] [IB Travelin] with the appearance

of authority” and “Domiruth did not solicit IB Travelin to sell travel services”. Id. at *5. Rather,

the Court held that “IB Travelin asked Domiruth for quotes on travel services that were then sold

to United States customers” and “[a]fter Plaintiff purchased his tour package from IB Travelin,

Domiruth prepared an itinerary for his trip, which displayed the Domiruth logo, Domiruth

generated a confirmation number, and Domiruth provided emergency contact information.” Id.

Ultimately, the Court held that “Domiruth's actions demonstrate that there was a business




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relationship between Domiruth and IB Travelin, but Domiruth's actions would not have indicated

to Hunt that IB Travelin had apparent authority to bind Domiruth as Domiruth's agent. Hunt could

not have relied on that authority.” Id.

          Just as in Slay, in the present case, EES and State Auto entered into a business relationship.

Plaintiff has failed to plead that it relied on the alleged authority between EES and State Auto or

that Plaintiff was injured by the alleged authority. The business relationship that existed between

State Auto and EES is insufficient to create any agency relationship, and Plaintiff has failed to

make any allegations to the contrary.

          Additionally, to the extent Plaintiff seeks to hold State Auto liable for the acts of EES, it is

well-settled that there is no legal basis to support imposing a duty to the insured on the hired expert

consultant of the insurer. Acuity v. McGhee Eng’g, Inc., 297 S.W.3d 718, 732 (Tenn. Ct. App

2008) (design engineer only owed duty to the party it contracted with); Standard Fire Ins. Co. v.

Chester-O’Donley & Assocs., 972 S.W.2d 1, 5 (Tenn. Ct. App. 1998) (an insurer’s duty to defend

the insured is governed by the insurance contract). Additionally, while there is no case law directly

on point in Tennessee regarding whether an expert engineering consultant owes anyone other than

its client a duty of care, other jurisdictions have found that an expert consultant only owes a duty

to the party that retained them. Graffagnino, 514 F. Supp. 2d at 1046; Kahn v. Burman, 673 F.

Supp. 210 (E.D. Mich. 1987), aff’d 878 F.2d 1436 (6th Cir. 1989); Williams v. Nat’l Med. Servs.,

Inc., 400 F. 3d 1102, 1104 (8th Cir. 2005); Lewis v. Swenson, 617 P. 2d 69, 74 (Ariz App. Ct.

1980). Here, EES cannot have breached any duty to Plaintiff, because it had no duty to Plaintiff.

          Additionally, to the extent Plaintiff seeks to bring a claim of vicarious liability (not alleged

in the Complaint) against State Auto for EES’ actions, Plaintiff has not and cannot substantiate

this claim. It is well-settled that in order to establish vicarious liability, a plaintiff must prove “(1)




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that the person causing the injury was the principal’s agent[;] and (2) that the person causing the

injury was acting on the principal's business and acting within the scope of his or her employment

when the injury occurred.” Tucker v. Sierra Builders, 180 S.W.3d 109, 120 (Tenn. Ct. App. 2005).

Plaintiff has failed to allege either element. Plaintiff does not have any actionable claim against

EES, and State Auto cannot be held vicariously liable for EES’ alleged actions.

          Finally, the Tennessee Supreme Court has recognized that no fiduciary relationship exists

between an insurer and its insured. MFA Mut. Ins. Co. v. Flint, 574 S.W.2d 718, 720 (Tenn. 1978);

Heil Co. v. Evanston Ins. Co ., No. 1:05–CV–284, 2009 U.S. Dist. LEXIS 17760, *7, 2009 WL

596001 (E.D. Tenn. Mar. 6, 2009) (finding no fiduciary duty between insurer and insured arising

from contract provision permitting insurer to defend insured); Bagsby v. Shelter Gen. Ins. Co., No.

87–153–II, 1988 Tenn. LEXIS 95, *8, 1988 WL 9809 (Tenn. Ct. App. Feb. 10, 1988) (citing to

Flint and noting that there is no fiduciary relationship between insurer and its insured).”). Thus,

State Auto was not under any fiduciary obligations to Plaintiff when investigating Plaintiff’s claim.

          As shown above, Plaintiff has failed to make plausible allegations establishing that any

agency relationship existed between State Auto and EES and State Auto cannot be held liable for

the acts or omissions of EES, who Plaintiff elected not to make a party to this action. As a result,

Plaintiff’s agency claim fails as a matter of law and must be dismissed.

C.        Plaintiff Has Failed to Allege Fraud or Misrepresentation Justifying an Award of
          Punitive Damages.

          Plaintiff asserted that State Auto “knowingly, and repeatedly, misrepresented the policy

coverage term of deterioration and wear and tear (existing conditions) as “causes of loss” to deny

coverage to Plaintiffs…”. Complaint at ¶ 7. Additionally, Plaintiff has alleged that State Auto’s

adjuster knowingly made a “misrepresentation of policy coverage terms”. Id. at ¶ 9. In addition to

seeking compensatory damages, Plaintiff seeks punitive damages “of no less than FORTY



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MILLION DOLLARS.” Complaint, Wherefore Clause. However, no factual allegations are

provided in the Complaint to plausibly support an allegation that State Auto engaged in any

fraudulent acts that support Plaintiff’s punitive damages claim. Instead, the Complaint merely

asserts State Auto or its adjuster engaged in misrepresentations, without any specific factual

allegations substantiating this serious allegation.

          In order to recover punitive damages, Plaintiff is required to meet the heightened pleading

standard of Federal Rule of Civil Procedure 9(b) as set forth above, which it has failed to do

entirely. It is well-settled under Tennessee law that as Plaintiff has failed “to plead fraud with the

particularity required by Rule 9… it [is] certain that [Plaintiff] will not recover any punitive

damages for fraud.” Currie v. JPMorgan Chase Bank, N.A., No. 2:12-CV-02915-JPM, 2013 WL

3776217, at *8 (W.D. Tenn. 2013).

          The bare allegations set forth in Plaintiff’s Complaint fall far short of justifying an award

of punitive damages.       Moreover, an award of punitive damages is generally disfavored in

Tennessee. Dog House Invs., LLC v. Teal Properties, Inc., 448 S.W.3d 905, 915–16 (Tenn. Ct.

App. 2014) (“Punitive damages generally are not available in an action for breach of contract, but

may be awarded only in the most egregious circumstances…. ‘[I]n the absence of fraud, there is

no basis for punitive damages[.]’)”). Plaintiff has failed to demonstrate that any circumstances

exist justifying an award of punitive damages in the present case and has failed to plead fraud with

particularity. Accordingly, Plaintiff’s claim for punitive damages should be dismissed.

III.      CONCLUSION

          For the foregoing reasons, Plaintiff’s Insurance Fraud Act and agency claims, as well as its

request for an award of punitive damages, should be dismissed with prejudice.




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                                             Respectfully submitted,
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                                CERTIFICATE OF SERVICE
       I hereby certify that on the 27th day of June 2023, I served a copy of the foregoing via the
Court’s CM/ECF system on the following:
                                      Drayton D. Berkley
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                                      Memphis, TN 38119

                                             /s/ Brian C. Neal




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